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                                                                 Election Identification       Certificate           Phase   II

                                                                            Monday     September       30     2013

     Invited     Andrea Carlisle Beverly Foust Sharon Morris Renee Cardwell                                                  Karol Jarmon

     Cristina Valdiviezo                           Melissa Calhoun           Sally Saldivar Lynne Cardenas




      ITS   Lead Andrea                         Carlisle    cell 5129688926

      Backup    Lead Sharon Morris                                cell    5126263628


      Project   Deployment Thursday October 10 2013                                          we must be deployed              and everyone            trained




      Meeting    Purpose Roles                               Responsibilities      of EIC   Phase 2 82 Mobile          Light Units




      Notes

                QLess team                         will    be deploying     Online   Appointment Solution to Pflugerville                   Wednesday      night   and

                golive                     is   Thursday      This   means my availability         on Wednesday and Thursday                  will    be limited

                Karol Jarmon                         is   on vacation    beginning on Wednesday               with limited availability

                Sharon Morris will                           be serving as my backup          to   ensure    all
                                                                                                                   minprojects are on task and to               assist


                where needed


            Business Process                            Headquarters

            Primary Beverly Foust cell 5128267967

            Secondary                       Sally Saldivar        cell 5125857596

            Resources

                                      DL Trainers          Lynn Hale

                                      DL    Sherri      Gipson



            Purpose To validate                            current   business process        create    new     processes     for the       counties    and validate

            findings                  with Trainers            Business



            Action Item

                                      Validate      AsIs Business        Process   with the Business work            in   conjunction       with the DL Trainers

                                      Update      the     ToBe    process    for the EIC    Mobile    Light Units for the         counties

                                      Validate      edits    with Business       and Trainers

                                      Coordinate          with Business     to   determine a ToBe        process      for the     Denial    of an    EIC




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Testing          IT    HQ Depot
Primary Lynne                 Cardenas           cell 5128101719

Resources

             + 2      LRS Staff

             3   staff      from QA            Tiffany    Stubbings cell 5125385740                         Lead
             Desktop           Engineering           Harry          Greenall




Purpose Conduct end                       to   end testing               This   includes    Test    the   image on laptop verify printer

functionality          on laptop verify the laptop                         will   work    with    Word       Excel verify the receipt template    is



loaded on laptop verify the security BIOS                                       password    is
                                                                                                 working    on laptop verify the hidden control

panel   is
             operational             on laptop and verify the encryption                           of the   thumb drives


Process

Depot to         IT   to   QA to ITS
Then to camp Mabry

Renee     and Cristina             will   coordinate              pick    up of the units twice a day at 800            am and 100 pm from
ITS




Action Item

                      Test     Scripts         Results       if
                                                                  applicable       most likely      to begin     on Wednesday



Testing          ITS




Primary Sharon Morris                          cell 5126263628

Secondary             Sally Saldivar             cell 5125857596

Other Melissa Calhoun                           cell 5126099060

Resources             10 LRS       testers




Purpose Calibrate                  all   printers    test the             Homebound         process       test   200 of the thumb drives wipe the

images from the thumb drive                          Bundle equipment                    including        printer   laptop and thumb drive

Coordinate            transport to         Camp Mabry


Inventory             Camp Mabry

Primary Renee                 Cardwell           cell 5127318766

Primary Cristina Valdiviezo                          cell 5125843270



Resources             10 staff members from 604



Purpose To create the final                       EIC    Mobile           Light Units




Note    ITS will           shift   resources as          workload           changesneeded


Action Item

             Inventory             Plan of Action

             Role             Responsibilities          in    warehouse

             Final     list    of inventory

             Create PRO3s

             Coordinate             with 604 to secure additional                        staff   members



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